Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 1 of 25




                   Exhibit A
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                                                                                    October 3, 2018


       RONALD DANTOWITZ                                             Invoice #:        241373
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                         INVOICE SUMMARY

For Professional Services Rendered for the period ending: September 27, 2018.

RE: DEXTER SOUTHFIELD SCHOOL


                 Professional Services                                 $ 4,625.00
                 Disbursements                                              $ .00

                 BALANCE DUE THIS INVOICE                              $ 4,625.00
                 Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 3 of 25


                                                                   Sherin and Lodgen LLP
Invoice #: 241373                                                               October 3, 2018


PROFESSIONAL SERVICES

  Date    Tkpr    Description                                                  Hours        Amount
9/12/18   DIB     ATTEND INITIAL OFFICE CONSULT WITH CLIENT; CONFER WITH        1.70         552.50
                  COLLEAGUES RE: STRATEGY
9/13/18   DIB     REVIEW EMPLOYEE HANDBOOK AND CLIENT'S EMAIL                   3.80       1,235.00
                  COMMUNICATION; DRAFT EMAIL FOR CLIENT TO SEND TO
                  HEADMASTER, CONFER WITH J. MCNEELY AND N. SHILEPSKY RE:
                  SAME; ADVISE CLIENT RE: NEXT STEPS.
9/13/18   JLM     REVIEW AND DISCUSS E-MAIL TO HEADMASTER.                          .50      155.00
9/14/18   DIB     ADVISE CLIENT RE: NEXT STEPS; ATTEND TELECONFERENCE           3.20       1,040.00
                  WITH CLIENT AND DRAFT EMAIL TO HR, REVIEW LETTER FROM
                  ER, DRAFT RESPONSE TO HR, DRAFT AND SEND SURFACE EMAIL.
9/14/18   JLM     REVIEW E-MAILS FROM CLIENT AND EMPLOYEE HANDBOOK TO           1.00         310.00
                  CONFIRM FMLA USE OF ACCRUED TIME POLICY; REVIEW E-MAILS
                  FROM CLIENT TO HR AND E-MAILS FROM COUNSEL TO HR.
9/17/18   DIB     ADVISE CLIENT RE: NEXT STEPS; EXCHANGE EMAILS WITH                .90      292.50
                  OPPOSING COUNSEL CONFIRMING BENEFIT CONTINUATION;
                  ATTEND TO DEADLINES, ETC.
9/23/18   DIB     ATTEND TO FMLA CERTIFICATION, REVIEW CLIENT'S RESPONSE            .40      130.00
                  AND SCHEDULE TELECONFERENCE WITH CLIENT RE: SAME.
9/24/18   DIB     ATTEND TO FMLA CERTIFICATION; DRAFT CERTIFICATION,            1.80         585.00
                  ATTEND TELECONFERENCE WITH CLIENT AND CLIENT'S WIFE,
                  CONFER WITH B. MACDONOUGH RE: CERTIFICATION AND SEND
                  SAME TO CLIENT FOR REVIEW / EXECUTION. REVIEW OPPOSING
                  COUNSEL'S EMAIL RE: DENTAL COVERAGE, CONFIRM SAME WITH
                  CLIENT.
9/25/18   DIB     ATTEND TO FMLA CERTIFICATION; ATTEND TELECONFERENCE               .60      195.00
                  WITH CLIENT RE: REVISED AGREEMENT WITHOUT
                  SUPPLEMENTAL INFORMATION FROM PHYSICIAN.
9/27/18   DIB     ATTEND TO FMLA CERTIFICATION; DRAFT COVER EMAIL TO                .40      130.00
                  OPPOSING COUNSEL, CONFER WITH B. MACDONOUGH AND
                  CLIENT RE: SAME. SUBMIT FMLA CERTIFICATION.

                                  TOTAL PROFESSIONAL SERVICES                             $ 4,625.00

                                  BALANCE DUE THIS INVOICE                                $ 4,625.00




                                                1
              Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 4 of 25


                                                                Sherin and Lodgen LLP
Invoice #: 241373                                                            October 3, 2018

SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                        Rate         Hours                  Total
DAVID I. BRODY                                   325.00         12.80               4,160.00
JACLYN L. McNEELY                                310.00          1.50                 465.00
Total                                                           14.30             $ 4,625.00




                                             2
               Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 5 of 25




                                                                                          October 3, 2018


RONALD DANTOWITZ                                                    Invoice #:        241373
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                             $ 4,625.00



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                                                  Boston, MA 02110


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Please reference: Invoice # 241373, Client-Matter # 051111 - 00000




                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
              Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 6 of 25




                                                                                     November 5, 2018


       RONALD DANTOWITZ                                             Invoice #:        241798
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                          INVOICE SUMMARY

For Professional Services Rendered for the period ending: October 31, 2018.

RE: DEXTER SOUTHFIELD SCHOOL


                  Professional Services                                 $ 3,867.50
                  Disbursements                                              $ .00

                  BALANCE DUE THIS INVOICE                              $ 3,867.50
                 Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 7 of 25


                                                                   Sherin and Lodgen LLP
Invoice #: 241798                                                              November 5, 2018


PROFESSIONAL SERVICES

   Date    Tkpr     Description                                                Hours       Amount
10/01/18   DIB      ATTEND TO STRATEGY AND NEXT STEPS; REVIEW CLIENT'S               .40    130.00
                    EMAIL RE: REQUEST FOR JOB DESCRIPTION, CONFER WITH B.
                    MACDONOUGH RE: SAME, ADVISE CLIENT RE: SAME.
10/05/18   DIB      ATTEND TO BUILDING ACCESS ISSUE; ADVISE CLIENT RE: SAME,         .90    292.50
                    DRAFT AND SEND CLIENT EMAIL FOR HIM TO SEND RE: ACCESS.
10/08/18   JLM      REVIEW E-MAILS AND NEXT STEPS FOR RESOLUTION OF                  .30     93.00
                    BUILDING ACCESS ISSUE.
10/10/18   DIB      ATTEND TO STRATEGY AND NEXT STEPS, ADVISE CLIENT RE:            1.40    455.00
                    SAME; REVIEW CLIENT'S EMAILS RE: IMPENDING DISMISSAL,
                    CONFER WITH B. MACDONOUGH RE: SAME; DRAFT AND SEND
                    CLIENT EMAIL RE: BUILDING ACCESS.
10/10/18   JLM      REVIEW E-MAILS FROM CLIENT AND DISCUSS RESPONSE TO               .30     93.00
                    HUMAN RESOURCES.
10/11/18   JLM      REVIEW AND REVISE E-MAILS FOR CLIENT TO SEND TO HUMAN           1.00    310.00
                    RESOURCES RE: RETRIEVAL OF PERSONAL PROPERTY; PHONE
                    CALLS WITH CLIENT RE: SAME.
10/23/18   DIB      ATTEND TO CLIENT'S ACCESS TO BUILDING; NEGOTIATIONS              .30     97.50
                    WITH CARMEN RE: SAME, CONFER WITH J. MCNEELY
10/23/18   JLM      PHONE CALL WITH CLIENT AND PREPARE E-MAIL CLIENT WITH            .80    248.00
                    DRAFT E-MAIL TO HUMAN RESOURCES DIRECTOR RE: BUILDING
                    ACCESS.
10/24/18   DIB      REVISE AND REVISE DRAFT EMAIL TO SCHOOL RE: BUILDING             .80    260.00
                    ACCESS, DISPARATE TREATMENT; SEND SAME TO CLIENT.
10/26/18   DIB      ADVISE CLIENT RE: RETRIEVING MATERIALS.                          .30     97.50
10/29/18   DIB      ADVISE CLIENT RE: POTENTIAL CLAIMS, NEXT STEPS,                  .00      N/C
                    STRATEGY; CONFER WITH J. MCNEELY RE: SAME, AND REACH
                    OUT TO OPPOSING COUNSEL.
10/29/18   JLM      REVIEW E-MAILS FROM CLIENT; DISCUSS NEXT STEPS; PHONE           1.10    341.00
                    CALL WITH CLIENT RE: SAME.
10/30/18   DIB      ATTEND TO SCHEDULING DISCUSSION WITH OPPOSING                    .60    195.00
                    COUNSEL, PREPARE FOR SAME WITH J. MCNEELY
10/30/18   JLM      REVIEW E-MAILS FROM CLIENT AND DISCUSS NEXT STEPS FOR           2.00    620.00
                    CALL WITH OPPOSING COUNSEL RE: POSSIBLE RESOLUTION;
                    PREPARE ISSUES FOR CALL WITH OPPOSING COUNSEL; PHONE
                    CALL WITH CLIENT TO FOLLOW UP ON ITEMS HE WAS TO SEND
                    US.




                                                1
                 Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 8 of 25


                                                                   Sherin and Lodgen LLP
Invoice #: 241798                                                             November 5, 2018

   Date    Tkpr     Description                                                Hours         Amount
10/31/18   DIB      REVIEW MATERIAL FROM CLIENT RE: TIME AT SCHOOL,                 1.00      325.00
                    DISCLOSURE OF DISABILITY; PREPARE FOR AND ATTEND
                    TELECONFERENCE WITH OPPOSING COUNSEL, UPDATE CLIENT
                    RE: SAME.
10/31/18   JLM      PREPARE FOR AND PHONE CALL WITH OPPOSING COUNSEL RE:            1.00      310.00
                    EMPLOYER'S UNLAWFUL CONDUCT AND POSSIBLE RESOLUTION;
                    PHONE CALL WITH CLIENT RE: SAME.

                                  TOTAL PROFESSIONAL SERVICES                              $ 3,867.50

                                  BALANCE DUE THIS INVOICE                                 $ 3,867.50


SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                           Rate         Hours                        Total
DAVID I. BRODY                                      325.00          5.70                     1,852.50
JACLYN L. McNEELY                                   310.00          6.50                     2,015.00
Total                                                              12.20                   $ 3,867.50




                                                2
               Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 9 of 25




                                                                                        November 5, 2018


RONALD DANTOWITZ                                                    Invoice #:        241798
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                             $ 3,867.50



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                                                  Boston, MA 02110


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                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
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                                                                                    December 6, 2018


       RONALD DANTOWITZ                                             Invoice #:        242459
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                         INVOICE SUMMARY

For Professional Services Rendered for the period ending: November 29, 2018.

RE: DEXTER SOUTHFIELD SCHOOL


                 Professional Services                                 $ 5,957.00
                 Disbursements                                              $ .00

                 BALANCE DUE THIS INVOICE                              $ 5,957.00
             Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 11 of 25


                                                                  Sherin and Lodgen LLP
Invoice #: 242459                                                            December 6, 2018


PROFESSIONAL SERVICES

   Date    Tkpr     Description                                              Hours     Amount
11/07/18   DIB      REVIEW EMAIL FROM B. CARLSON, CONFER WITH J. MCNEELY         .30     97.50
                    RE: SAME AND UPDATE CLIENT.
11/12/18   DIB      ATTEND TO NEGOTIATIONS; DRAFT PROPOSAL AND                 1.70     552.50
                    TRANSMITTAL EMAIL, CONFER WITH J. MCNEELY RE: SAME.
                    REVIEW EMPLOYEE HANDBOOK RE: POTENTIAL BENEFITS, ETC.
11/12/18   JLM      REVIEW AND REVISE E-MAIL TO EMPLOYER WITH SETTLEMENT         .50    155.00
                    DEMAND.
11/13/18   NSS      REVIEW STATUS AND STRATEGY; ASSIST WITH SAME.                .30    151.50
11/13/18   DIB      ATTEND TO NEGOTIATIONS; CONFER WITH J. MCNEELY RE:           .40    130.00
                    DRAFT DEMAND AND FOLLOW UP WITH CLIENT.
11/14/18   DIB      ADVISE CLIENT RE: NEGOTIATIONS; UPDATE PROPOSAL PER          .80    260.00
                    DISCUSSION WITH CLIENT AND SEND SAME FOR REVIEW /
                    APPROVAL.
11/14/18   JLM      REVIEW AND REPLY TO E-MAIL FROM CLIENT; DISCUSS              .40    124.00
                    STRATEGY FOR NEXT STEPS.
11/16/18   NSS      REVIEW DEVELOPMENTS AND ASSIST WITH STRATEGY                 .40    202.00
                    REGARDING SAME.
11/16/18   DIB      ATTEND TO NEGOTIATIONS; ADVISE CLIENT RE: SAME, REVISE     1.20     390.00
                    AND SEND DEMAND.
11/20/18   DIB      ATTEND TO CORRESPONDENCE TO C. URBONAS; DRAFT FOR          1.20     390.00
                    CLIENT AND ADVISE HIM RE: SAME.
11/21/18   NSS      REVIEW STATUS AND DEVELOPMENTS; ASSIST WITH STRATEGY         .40    202.00
                    FOR NEXT STEPS.
11/21/18   DIB      ATTEND TO NEGOTIATIONS; REVIEW RESPONSE FROM                 .80    260.00
                    OPPOSING COUNSEL, CONFER WITH J. MCNEELY AND ADVISE
                    CLIENT.
11/23/18   DIB      ATTEND TO CLIENT'S QUESTIONS RE: REDACTED                    .20     65.00
11/26/18   BJM      ATTEND TO FILE; ASSIST D. BRODY RE: STRATEGY AND NEXT      1.00     475.00
                    STEPS.
11/26/18   DIB      ATTEND TO STRATEGY; ADVISE CLIENT RE; SAME. REVIEW         2.30     747.50
                    PERSONNEL RECORD. ATTEND TO NEGOTIATIONS; DRAFT AND
                    SEND EMAIL TO OPPOSING COUNSEL. CONFER WITH B.
                    MACDONOUGH RE: STRATEGY AND RESPONSE TO C. URBONAS.
11/27/18   DIB      ADVISE CLIENT RE: STRATEGY AND NEXT STEPS; ATTEND TO       2.20     715.00
                    CASE BOOK AND BEGIN DRAFTING CHARGE OF
                    DISCRIMINATION.



                                                1
             Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 12 of 25


                                                                Sherin and Lodgen LLP
Invoice #: 242459                                                           December 6, 2018

   Date    Tkpr     Description                                             Hours      Amount
11/29/18   DIB      ATTEND TO CASEBOOK, CHRONOLOGY, IN RE; CHARGE; REVIEW     3.20    1,040.00
                    PERSONNEL RECORD AND DRAFT RESPONSIVE EMAIL TO B.
                    CARLSON.

                                  TOTAL PROFESSIONAL SERVICES                        $ 5,957.00

                                  BALANCE DUE THIS INVOICE                           $ 5,957.00


SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                            Rate       Hours                   Total
BRIAN J. MACDONOUGH                                  475.00       1.00                   475.00
NANCY S. SHILEPSKY                                   505.00       1.10                   555.50
DAVID I. BRODY                                       325.00      14.30                 4,647.50
JACLYN L. McNEELY                                    310.00        .90                   279.00
Total                                                            17.30               $ 5,957.00




                                               2
              Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 13 of 25




                                                                                        December 6, 2018


RONALD DANTOWITZ                                                    Invoice #:        242459
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                             $ 5,957.00



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                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
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                                                                                    January 9, 2019


       RONALD DANTOWITZ                                             Invoice #:        243026
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                         INVOICE SUMMARY

For Professional Services Rendered for the period ending: December 21, 2018.

RE: DEXTER SOUTHFIELD SCHOOL


                 Professional Services                                $ 10,574.00
                 Disbursements                                              $ .00

                 BALANCE DUE THIS INVOICE                             $ 10,574.00
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                                                                  Sherin and Lodgen LLP
Invoice #: 243026                                                            January 9, 2019


PROFESSIONAL SERVICES

   Date    Tkpr     Description                                             Hours      Amount
12/03/18   DIB      ATTEND TELECONFERENCE WITH CLIENT AND J. MCNEELY,        3.40      1,105.00
                    ADVISE CLIENT RE: NEXT STEPS; ATTEND TO DRAFTING
                    CHARGE OF DISCRIMINATION AND EMAIL TO B. CARLSON.
12/03/18   JLM      REVIEW E-MAILS FROM CLIENT RE: RESPONSE TO PERSONNEL         .10     31.00
                    RECORD.
12/03/18   JLM      PHONE CALL WITH CLIENT; REVIEW AND REVISE E-MAIL TO      1.00       310.00
                    OPPOSING COUNSEL TO FURTHER SETTLEMENT
                    NEGOTIATIONS.
12/04/18   DIB      ATTEND TO NEGOTIATIONS WITH OPPOSING COUNSEL, CONFER     2.80       910.00
                    WITH CLIENT RE: SAME; FINISH FIRST DRAFT OF CHARGE.
12/04/18   JLM      REVIEW E-MAIL FROM OPPOSING COUNSEL AND DISCUSS NEXT         .50    155.00
                    STEPS FOR NEGOTIATIONS; PHONE CALL WITH CLIENT RE:
                    REDACTED
12/05/18   BJM      CONFERENCES WITH D. BRODY RE: CASE STATUS AND            1.20       570.00
                    STRATEGY MOVING FORWARD; REVIEW AND ASSIST WITH
                    DRAFT MCAD CHARGE.
12/05/18   JLM      REVIEW AND REVISE DISCRIMINATION CHARGE.                 1.50       465.00
12/06/18   BJM      ASSIST RE: REVIEW AND REVISIONS TO MCAD CHARGE;              .90    427.50
                    CONFERENCE WITH D. BRODY RE: SAME.
12/06/18   DIB      ATTEND TO STRATEGY; FINISH DRAFT CHARGE, CONFER WITH     2.60       845.00
                    B. MACDONOUGH, ADVISE CLIENT RE: NEXT STEPS AND EMAIL
                    FROM B. CARLSON.
12/06/18   JLM      DISCUSS E-MAIL FROM OPPOSING COUNSEL AND NEXT STEPS;     1.20       372.00
                    REVIEW AND REVISE CHARGE OF DISCRIMINATION.
12/07/18   DIB      ADVISE CLIENT RE: NEXT STEPS; REDACTED                       .60    195.00

12/07/18   JLM      REVIEW E-MAILS FROM CLIENT RE: DRAFT CHARGE OF               .10     31.00
                    DISCRIMINATION AND SETTLEMENT DISCUSSIONS.
12/10/18   BJM      ATTEND TO FILE; ASSIST WITH DRAFTING OF INTERNAL             .50    237.50
                    COMMUNICATIONS TO EMPLOYER.
12/10/18   DIB      ATTEND TO EMAIL TO C. URBONAS; SEND TO CLIENT WITH           .80    260.00
                    ADVICE RE: NEXT STEPS
12/10/18   JLM      DISCUSS NEXT STEPS FOR SETTLEMENT NEGOTIATIONS AND           .50    155.00
                    LITIGATION; REVIEW E-MAIL TO EMPLOYER.
12/12/18   DIB      ADVISE CLIENT RE: NEXT STEPS; ATTEND TELECONFERENCE          .40    130.00
                    WITH CLIENT RE: SAME.



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                                                                   Sherin and Lodgen LLP
Invoice #: 243026                                                               January 9, 2019

   Date    Tkpr     Description                                                Hours   Amount
12/13/18   DIB      ATTEND TO STRATEGY; REVISE AND SEND CLIENT EMAIL FOR         .60    195.00
                    TRANSMISSION TO SCHOOL, ADVISE CLIENT RE: NEXT STEPS.
12/13/18   JLM      PHONE CALLS WITH AND E-MAILS TO CLIENT RE: E-MAIL TO        1.00    310.00
                    HUMAN RESOURCES REDACTED
12/14/18   BJM      ASSIST RE: NEW DEVELOPMENTS AND STRATEGY MOVING              .50    237.50
                    FORWARD REDACTED
12/14/18   DIB      ADVISE CLIENT RE: NEXT STEPS; CONFER WITH J. MCNEELY RE:     .80    260.00
                    SAME.
12/14/18   JLM      REVIEW AND DISCUSS CLIENT E-MAILS; PREPARE AND SEND         1.80    558.00
                    REPLY E-MAIL TO CLIENT; PHONE CALL WITH CLIENT RE:
                    MEETING, DISCUSS NEXT STEPS WITH B. MACDONOUGH AND D.
                    BRODY.
12/17/18   DIB      ADVISE CLIENT RE: UPCOMING MEETING WITH TUCKER AND           .80    260.00
                    URBONAS; DRAFT EMAIL FOR CLIENT TO SEND.
12/17/18   JLM      DISCUSS NEXT STEPS FOR CLIENT'S RETURN TO WORK WITH D.      1.00    310.00
                    BRODY; REVIEW E-MAILS FROM CLIENT.
12/18/18   DIB      ATTEND TO STRATEGY AND NEXT STEPS; REDACTED                 1.60    520.00
                                                      ATTEND
                    TELECONFERENCE WITH CLIENT, DRAFT EMAIL FOR CLIENT.
12/18/18   JLM      REVIEW E-MAILS FROM CLIENT, DISCUSS NEXT STEPS WITH D.      2.80    868.00
                    BRODY, PREPARE E-MAIL TO HUMAN RESOURCES; E-MAIL TO
                    CLIENT TO SCHEDULE CALL; CALL WITH CLIENT TO DISCUSS
                    NEXT STEPS, REVISE E-MAIL TO HUMAN RESOURCES.
12/19/18   DIB      ADVISE CLIENT RE: NEXT STEPS; DRAFT EMAIL TO C. URBONAS.     .90    292.50
12/19/18   JLM      REVIEW E-MAILS FROM CLIENT AND DISCUSS RESPONSE WITH         .40    124.00
                    D. BRODY.
12/20/18   BJM      ASSIST RE: NEW DEVELOPMENTS AND STRATEGY MOVING              .40    190.00
                    FORWARD.
12/20/18   JLM      REVIEW CLIENT E-MAILS, DISCUSS NEXT STEPS WITH D. BRODY.     .50    155.00
12/21/18   BJM      CONFERENCE WITH D. BRODY RE: STRATEGY AND NEXT STEPS.        .20     95.00

                                  TOTAL PROFESSIONAL SERVICES                      $ 10,574.00

                                  BALANCE DUE THIS INVOICE                         $ 10,574.00




                                                2
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                                                               Sherin and Lodgen LLP
Invoice #: 243026                                                           January 9, 2019

SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                         Rate        Hours                   Total
BRIAN J. MACDONOUGH                               475.00         3.70               1,757.50
DAVID I. BRODY                                    325.00        15.30               4,972.50
JACLYN L. McNEELY                                 310.00        12.40               3,844.00
Total                                                           31.40            $ 10,574.00




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                                                                                          January 9, 2019


RONALD DANTOWITZ                                                    Invoice #:        243026
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                            $ 10,574.00



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                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
              Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 19 of 25




                                                                                     February 7, 2019


       RONALD DANTOWITZ                                             Invoice #:        243506
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                          INVOICE SUMMARY

For Professional Services Rendered for the period ending: January 28, 2019.

RE: DEXTER SOUTHFIELD SCHOOL


                  Professional Services                                 $ 7,157.00
                  Disbursements                                              $ .00

                  BALANCE DUE THIS INVOICE                              $ 7,157.00
                Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 20 of 25


                                                                     Sherin and Lodgen LLP
Invoice #: 243506                                                             February 7, 2019


PROFESSIONAL SERVICES

  Date    Tkpr    Description                                                 Hours       Amount
1/02/19   DIB     ATTEND TO STATUS, CONFER WITH J. MCNEELY RE: SAME;                .30     97.50
                  FOLLOW UP WITH CLIENT.
1/02/19   JLM     DISCUSS STATUS WITH D. BRODY.                                     .20     62.00
1/04/19   DIB     ADVISE CLIENT RE: NEXT STEPS; DRAFT EMAIL RE: REDACTED            .90    292.50

1/04/19   JLM     PHONE CALL WITH CLIENT TO DISCUSS STATUS AND NEXT             1.00       310.00
                  STEPS.
1/09/19   DIB     REVIEW MATERIAL SENT BY CLIENT (EMAILS WITH C. URBONAS        1.10       357.50
                  AND S. TUCKER); CONFERENCE WITH J. MCNEELY RE: STRATEGY
                  AND NEXT STEPS.
1/09/19   JLM     REVIEW CLIENT E-MAILS AND DISCUSS WITH D. BRODY.                  .30     93.00
1/10/19   DIB     ATTEND TELECONFERENCE WITH CLIENT AND J. MCNEELY,             1.80       585.00
                  ADVISE CLIENT RE: REDACTED          DISCUSS STRATEGY.
                  CONFER WITH J. MCNEELY RE: REDACTED
                                      REVIEW ADDITIONAL MATERIAL SENT BY
                  CLIENT.
1/10/19   JLM     CALL WITH CLIENT; DISCUSS NEXT STEPS WITH D. BRODY.           1.50       465.00
                 REDACTED
1/11/19   BJM     CONFERENCE WITH J. MCNEELY RE: CASE STATUS; ASSIST RE:            .60    300.00
                 REDACTED
1/11/19   NSS     REVIEW DEVELOPMENTS; ADVISE RE; NEXT STEPS.                       .30    159.00
1/11/19   DIB     ATTEND TO REDACTED                 CONFERENCE WITH J.             .70    227.50
                  MCNEELY RE: SAME.
1/11/19   JLM     REVIEW CLIENT E-MAILS; DISCUSS NEXT STEPS WITH D. BRODY;      1.30       403.00
                 REDACTED                                 E-MAIL TO CLIENT.
1/12/19   JLM     REVIEW CLIENT E-MAILS; DISCUSS WITH D. BRODY; REPLY TO            .50    155.00
                  CLIENT E-MAIL.
1/13/19   DIB     REVIEW UPDATES FROM CLIENT, ADVISE CLIENT RE: NEXT                .60    195.00
                  STEPS.
1/14/19   JLM     DISCUSS CLIENT E-MAILS AND NEXT STEPS WITH D. BRODY.              .20     62.00
1/17/19   JLM     REVIEW STATUS WITH D. BRODY.                                      .10     31.00
1/18/19   DIB     ADVISE CLIENT RE: REDACTED                                        .60    195.00

1/22/19   DIB     REVIEW CLIENT'S UPDATES RE: REDACTED                              .40    130.00
                                                              ADVISE CLIENT
                  RE: NEXT STEPS.



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                                                                  Sherin and Lodgen LLP
Invoice #: 243506                                                              February 7, 2019

  Date    Tkpr    Description                                                  Hours        Amount
1/22/19   JLM     REVIEW E-MAIL FROM CLIENT AND DISCUSS WITH D. BRODY;          1.00         310.00
                  REVIEW REDACTED                    E-MAIL TO CLIENT TO
                  SET UP CALL TO DISCUSS; REVIEW AND REPLY TO CLIENT'S
                  SUBSEQUENT E-MAIL RE: REDACTED
1/23/19   DIB     REVIEW MATERIAL PROVIDED BY CLIENT, MEMO TO FILE RE:          1.10         357.50
                  TERMINATION, SEPARATION AGREEMENT, ETC.
1/23/19   JLM     REVIEW E-MAILS FROM CLIENT; DISCUSS WITH D. BRODY; E-MAIL         .90      279.00
                  TO CLIENT TO SET UP CALL TO DISCUSS.
1/24/19   DIB     PREPARE FOR AND ATTEND TELECONFERENCE WITH CLIENT;                .90      292.50
                  ADVISE HIM AS TO NEXT STEPS. RESEARCH COBRA NOTICE
                  OBLIGATIONS.
1/24/19   JLM     REVIEW STRATEGY AND NEXT STEPS FOR PROCEEDING WITH                .80      248.00
                  LITIGATION WITH D. BRODY; PHONE CALL WITH CLIENT RE: SAME.
1/25/19   JLM     DISCUSS REDACTED                                                  .30       93.00
                            REVIEW CLIENT E-MAIL.
1/26/19   JLM     UPDATE CHRONOLOGY AND CASEBOOK.                               2.00         620.00
1/27/19   JLM     UPDATE CHRONOLOGY AND CASEBOOK.                               2.50         775.00
1/28/19   JLM     DISCUSS CHRONOLOGY, CASEBOOK AND STATUTE OF                       .20       62.00
                  LIMITATIONS DEADLINE.

                                 TOTAL PROFESSIONAL SERVICES                              $ 7,157.00

                                 BALANCE DUE THIS INVOICE                                 $ 7,157.00


SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                             Rate        Hours                      Total
BRIAN J. MACDONOUGH                                   500.00          .60                     300.00
NANCY S. SHILEPSKY                                    530.00          .30                     159.00
DAVID I. BRODY                                        325.00         8.40                   2,730.00
JACLYN L. McNEELY                                     310.00        12.80                   3,968.00
Total                                                               22.10                 $ 7,157.00




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                                                                                         February 7, 2019


RONALD DANTOWITZ                                                    Invoice #:        243506
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                             $ 7,157.00



All checks should be made payable to:             Sherin and Lodgen LLP
(Please return this advice with payment.)         ATTN: Accounts Receivable
                                                  101 Federal Street
                                                  Boston, MA 02110


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For payment by wire or ACH in USD:                Please call our Accounting Department at 617-646-2000



Please reference: Invoice # 243506, Client-Matter # 051111 - 00000




                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
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                                                                                     March 5, 2019


       RONALD DANTOWITZ                                             Invoice #:        243926
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                          INVOICE SUMMARY

For Professional Services Rendered for the period ending: February 8, 2019.

RE: DEXTER SOUTHFIELD SCHOOL


                  Professional Services                                   $ 313.00
                  Disbursements                                              $ .00

                  BALANCE DUE THIS INVOICE                                $ 313.00
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                                                                  Sherin and Lodgen LLP
Invoice #: 243926                                                                   March 5, 2019


PROFESSIONAL SERVICES

  Date    Tkpr    Description                                                 Hours       Amount
2/04/19   DIB     ADVISE CLIENT REDACTED                                            .20     65.00
2/05/19   JLM     UPDATE CHRONOLOGY AND CASEBOOK.                                   .00       N/C
2/06/19   JLM     CONTINUE TO PREPARE CASEBOOK.                                     .00       N/C
2/07/19   JLM     CONTINUE TO PREPARE CHRONOLOGY AND CASEBOOK.                      .00       N/C
2/08/19   JLM     REVIEW AND REVISE CHRONOLOGY AND CASEBOOK; FINALIZE               .80    248.00
                  SAME.

                                 TOTAL PROFESSIONAL SERVICES                              $ 313.00

                                 BALANCE DUE THIS INVOICE                                 $ 313.00


SUMMARY OF PROFESSIONAL SERVICES

Timekeeper                                             Rate         Hours                    Total
DAVID I. BRODY                                       325.00            .20                  65.00
JACLYN L. McNEELY                                    310.00            .80                 248.00
Total                                                                 1.00                $ 313.00




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              Case 1:20-cv-10540-AK Document 186-1 Filed 03/22/23 Page 25 of 25




                                                                                            March 5, 2019


RONALD DANTOWITZ                                                    Invoice #:        243926
                                                                    Client #:         051111
                                                                    Matter #:          00000
                                                                    Billing Attorney:   0249
________________________________________________________________________________________

                                            REMITTANCE
RE: DEXTER SOUTHFIELD SCHOOL



                  BALANCE DUE THIS INVOICE                               $ 313.00



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Please reference: Invoice # 243926, Client-Matter # 051111 - 00000




                                       TERMS: NET 30 DAYS

                                        Federal ID # XX-XXXXXXX
